     Case 1:25-cv-00660-RJL   Document 12   Filed 03/11/25   Page 1 of 18




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Ward Brehm,

            Plaintiff,

v.
                                            Civil Case No. 25-cv-660
Pete Marocco, et al.,

            Defendants.




          REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR
                TEMPORARY RESTRAINING ORDER
         Case 1:25-cv-00660-RJL                       Document 12              Filed 03/11/25            Page 2 of 18




                                               TABLE OF CONTENTS
Introduction ....................................................................................................................... 1
Argument ........................................................................................................................... 3
   I.        Brehm is likely to succeed on the merits. ............................................................ 3
        A.     The USADF board members were not terminated. ........................................ 3
        B.     Defendants lack any authority to appoint Marocco as an acting member of
               the Board. ........................................................................................................... 6
        C.     Brehm has standing. .......................................................................................... 8
   II. Preventing Brehm from carrying out USADF’s mission would be an
       irreparable harm. ................................................................................................. 10
   III. The public interest weighs in favor of enjoining unlawful
        government action. .............................................................................................. 12
Conclusion ........................................................................................................................ 15




                                                                   i
      Case 1:25-cv-00660-RJL     Document 12    Filed 03/11/25   Page 3 of 18




                                INTRODUCTION

   Defendants’ attempts to gut a 44-year-old agency in the span of two weeks reflect

the tech-startup motto to “move fast and break things.” Whatever the wisdom of that

approach in the private sector, it has no place in government. This case shows why.

   As explained in Brehm’s opening brief, Congress created USADF and explicitly

outlined how the agency operates. USADF’s bipartisan Board is appointed with

advice and consent of the Senate. The Board selects and oversees the President and

CEO. The President and CEO carries out the statutorily required functions of the

agency. And every year, Congress (which has exclusive authority to close the agency)

decides how much funding to appropriate to USADF to carry out that mission.

   Defendants treat those statutory requirements as mere suggestions to be ignored.

After gaining access to USADF under false pretenses, DOGE admitted that their goal

was to cancel all but one or two of USADF’s grants—ignoring that Congress has

appropriated $45 million dollars to USADF with instructions to use those funds to

provide grants to support entrepreneurship in Africa. Seeking to immediately lay off

all employees other than the President and CEO, DOGE made threats and demanded

that they be allowed to bypass the background checks and training required to access

such sensitive information. When that didn’t work, Defendants purported to appoint

Pete Marocco as the sole Board member—despite having failed to remove the four

active Board members. Marocco then purported to appoint himself the acting

President and CEO—despite Plaintiff Brehm being in that position. And then




                                         1
      Case 1:25-cv-00660-RJL      Document 12     Filed 03/11/25   Page 4 of 18




Defendants physically forced their way into the agency, rooting through offices and

demanding access to sensitive financial and human-resources files.

    Defendants skip over most of those facts. Instead, they argue that they are free

to ignore Congress’s direction for USADF (and the funds appropriated to carry out

that mission) because it is the President’s prerogative to fire the USADF Board and

to ignore the statutorily required process for appointing a new Board. But Defendants

never fired the existing Board. Defendants were too impatient to find the actual

contact information for the Board members. Instead, it appears that they took their

best guess as to email addresses, hoping it would be sufficient to send termination

notices to email addresses that were close enough. It wasn’t. So the properly

constituted Board remained and selected Brehm as the President and CEO. See

Resolution of the Board of Directors: Appointment of USADF President, 90 Fed. Reg.

11596 (Mar. 3, 2025). And even if the President could fire the Board at will, he could

not bypass Senate advice and consent to appoint someone as the sole Board member.

    If Defendants want to convince Congress to shutter USADF, that is their

prerogative. But it is not in their power to simply run roughshod over the law that

created USADF forty-four years ago and the law that funded it just last year. Absent

preliminary relief, Defendants will do irreparable damage to USADF. So even if

Brehm wins at the end of the day, there will be little for him to do in his position as

President of USADF other than to preside over the tatters of the agency. This Court

should grant a TRO to protect the status quo until it has further considered the

merits.



                                          2
         Case 1:25-cv-00660-RJL   Document 12    Filed 03/11/25   Page 5 of 18




                                   ARGUMENT

    I.    Brehm is likely to succeed on the merits.

   The lynchpin of Defendants’ entire argument is that the USADF Board was fired.

From that premise, Defendants argue that Brehm was never appointed President

and CEO and, therefore, he has no standing to challenge the lawful appointment of

Marocco to the board. But the Board was never fired. So there was no vacancy to fill—

especially not through an unlawful process—and Brehm has standing to object to

Defendants’ actions.

         A. The USADF board members were not terminated.

   Brehm’s TRO motion explained (at 9) that he was appointed President and CEO

by a duly appointed, bipartisan Board. See also Ex. I, Memorandum of USADF Board

to Congress. In response, Defendants offer emails purporting to deliver termination

notices to each Board member. See Defs.’ Exs. 1-5. Defendants then argue in a passing

paragraph that they were not required to notify the Board of their supposed

termination. Defendants are wrong on the facts and the law.

   1. Defendants’ exhibits are not what they appear to be. And Defendants have

knowledge, or at least should have knowledge, that the Board never received their

purported terminations.

   Of the five exhibit emails, four were never delivered. For good reason: they were

sent to wrong or nonexistent email addresses. The email to Chair Carol Moseley

Braun (Defs.’ Ex. 2) was sent to a Gmail address, but she does not have a Gmail

address. Ex. H, Supp. Feleke Decl., ¶ 12. The email to Morgan Davis (Defs.’ Ex. 1)

                                         3
      Case 1:25-cv-00660-RJL     Document 12      Filed 03/11/25   Page 6 of 18




was sent to two email addresses that do not exist—one at a USADF address and

another at a company for which he once was, but no longer is, a board member. Ex.

H, Supp. Feleke Decl., ¶ 11. The email to Jack Leslie (Defs.’ Ex. 3) was likewise sent

to an inactive USADF address. Ex. H, Supp. Feleke Decl., ¶ 13. And worst of all, John

Agwunobi’s termination (Defs.’ Ex. 5) was sent to an email that both misspelled his

name and used usadf.org instead of the proper usadf.gov domain. Ex. H, Supp. Feleke

Decl., ¶ 14.1

    Perhaps the incorrect email addresses were shots in the dark. Perhaps they were

attempts to deduce naming conventions from other email addresses at the agency or

at a business. Perhaps it was assumed that someone with a distinctive name, like

Carol Moseley Braun, would have that full name at Gmail. And perhaps a misspelled

name and incorrect domain were simply the result of moving fast.

    Whatever the explanation, the email termination notices were not delivered. But

they could have been. When DOGE employees first demanded the contact information

for the Board, a USADF staff member informed the DOGE employees that the

information was personal (presumably not a .gov address) and that she would check

if she could share it. Ex. H, Supp. Feleke Decl., ¶¶ 5, 6. But the DOGE employees

were too impatient and instead tried to find information about the Board members

online. Id. ¶ 6. They never followed up to ask the employee if she had been given

permission to share the information (which she had). Id. ¶ 8. Nor have Defendants



1 One email was received by a Board member—Ward Brehm. Defs.’ Ex. 4. Although

Brehm does not concede that he was lawfully fired from the Board, he recognizes
receipt of the termination notice and did not challenge it.
                                          4
      Case 1:25-cv-00660-RJL       Document 12      Filed 03/11/25    Page 7 of 18




shown any attempt to otherwise seek the contact information from USADF staff or

management.

    2. Because Defendants did not notify—or even make any meaningful attempt to

notify—the members of the Board of a purported removal from their positions, they

retained their seats on the Board.

    A person may not be removed from a federal office in secret; instead, removal

must actually be communicated to the officer. “[R]emoval may be made either by

express notification, or simply by appointing another person to the same office.” In re

Hennen, 38 U.S. 230, 247 (1839) (citing Bowerbank v. Morris, 3 F. Cas. 1062, 1064

(C.C.D. Pa. 1801)). Both Bowerbank opinions endorsed the common-sense rule that

notice is required to effect removal. Chief Judge Tilghman reasoned that “[a] removal

from office may be either express, that is, by a notification by order of the president

of the United States that an officer is removed; or implied, by the appointment of

another person to the same office. But in either case, the removal is not completely

effected till notice actually [is] received by the person removed.” 3 F. Cas. at 1064

(opinion of Tilghman, C.J.). Judge Griffiths concurred, reasoning that “[t]here can be

no question, I apprehend, but that the president may, by a proper act of office, remove

a marshal, without a new appointment. But this would not supersede him until he

had notice of such declaration of the president’s pleasure, and only from the time of

notice; the office then would be vacant.” Id. at 1065 (opinion of Griffiths, J.); see also

Creation of the Federal Judiciary: A Review of the Debates in the Federal and States

Constitutional Conventions; and Other Papers, S. Doc. No. 75-91, at 141 n.38 (1937)



                                            5
      Case 1:25-cv-00660-RJL      Document 12     Filed 03/11/25   Page 8 of 18




(“A marshal is not removed by the appointment of a new one, until he receives notice

of such appointment.”).

    Defendants address notice in only one passing paragraph, citing Marbury v.

Madison, 5 U.S. 137, 159 (1803), to contend that an executive officer may be removed

from his position without ever being informed of that fact. Defs.’ Mem. at 9. But

Marbury was not about removal of an executive officer at all. It was about

appointment. Nothing in Marbury contradicts the rule discussed in In re Hennen and

Bowerbank that a removal from office must actually be communicated to the officer.

    With nothing else supporting their position that officers can be removed in secret,

Defendants devote the lion’s share of their argument to the proposition that the

USADF Board members are removable at will. Defs.’ Mem. at 5-9. There is no reason

to dispute that proposition here; the power of removal has not been exercised.

      B. Defendants lack any authority to appoint Marocco as an acting
         member of the Board.

    Compounding their errors, Defendants argue that Pete Marocco is the sole Board

member (and, according to statements by Defendants, the President and CEO too).

But even if the Board had been terminated, Marocco could not act as a Board member.

    The Federal Vacancies Reform Act (FVRA) provides the “exclusive means” for

appointment of an acting official, unless another “statutory provision expressly”

authorizes such an appointment or the President validly makes a recess appointment.

5 U.S.C. § 3347(a). The FVRA specifies in no uncertain terms that, “[u]nless an officer

or employee is performing the functions and duties in accordance with sections 3345,

3346, and 3347,”—that is, unless an official was appointed under the terms of the


                                          6
      Case 1:25-cv-00660-RJL      Document 12       Filed 03/11/25   Page 9 of 18




FVRA or under another explicit statutory provision—any vacancy in an office

requiring Senate confirmation “shall remain vacant.” 5 U.S.C. § 3348(b).

    The FVRA does not allow acting appointments to USADF’s multi-member Board.

See 5 U.S.C. § 3349c(1). Nor does any provision of USADF’s governing statute

authorize the appointment of acting members to USADF’s Board. See 22 U.S.C.

§ 290h et seq. Instead, the sole means of appointment to the Board is through

nomination by the President and confirmation by the Senate. 22 U.S.C. § 290h-

5(a)(1). Congress addressed the possibility that seats on the USADF Board would

become vacant, not by authorizing the appointment of acting Board members, but

instead by permitting Senate-confirmed Board members to remain in their positions

until a successor is nominated and confirmed. Id. So under the FVRA, any USADF

Board seat that is purported to be filled by an acting member must instead remain

“vacant,” 5 U.S.C. § 3348(b), and any action taken by such a purported official “shall

have no force and effect,” 5 U.S.C. § 3348(d)(1).

    Defendants resist this conclusion through a tortured reading of the FVRA. They

acknowledge that the FVRA provides the exclusive means to appoint an acting official

and that the FVRA excludes the appointment of a member of a multi-member board

(like USADF) on an acting basis. Defs.’ Mem. at 13. From there, they contend that

because the FVRA excludes boards like USADF’s, see 5 U.S.C. § 3349c, it excludes

those boards from the entirety of the law—including the statute’s plain statement

that it is the “exclusive means” of appointment of acting officials. Defs.’ Mem. at 13.




                                           7
      Case 1:25-cv-00660-RJL       Document 12      Filed 03/11/25   Page 10 of 18




Therefore, according to Defendants, because the FVRA does not apply, the President

holds implicit Article II authority to appoint acting members to the Board. Id.

    But in the FVRA’s plain language, Congress contemplated and rejected

Defendants’ argument—the statute specifies that “an action taken by any person who

is not acting . . . in the performance of any function or duty of a vacant office to which

this section and sections . . . 3349c apply shall have no force or effect,” and “may not

be ratified.” 5 U.S.C. § 3348(d)(1), (2) (emphasis added). Put another way, under

Section 3348, when Section 3349c excludes multi-member boards from appointments

of acting officers, the rest of the FVRA still applies.

    Defendants may not disregard the strictures of the FVRA simply because

“Congress has chosen not to provide for acting [Board] members.” Noel Canning v.

NLRB, 705 F.3d 490, 511 (D.C. Cir. 2013), aff’d, 573 U.S. 513 (2014). If Defendants

want a new Board at USADF, they must follow the process defined in Article II of the

Constitution for the appointment of principal officers and USADF’s statute—

Presidential nomination and Senate confirmation. Defendants have not attempted to

nominate or confirm new members of the USADF Board. They cannot now rely on

their own failure as justification for an acting appointment plainly prohibited by law.

See id. (“We cannot accept an interpretation of the Constitution completely divorced

from its original meaning in order to resolve exigencies created by—and equally

remediable by—the executive and legislative branches.”).

      C. Brehm has standing.

    Defendants contend that Brehm lacks standing, either because he was never

lawfully appointed President of USADF, or because this Court lacks the authority to
                                            8
     Case 1:25-cv-00660-RJL       Document 12    Filed 03/11/25   Page 11 of 18




order him to be reinstated to that position. Defs.’ Mem. at 9-13. Neither argument

carries any weight.

   First, for the reasons stated above, Brehm was appointed to be the President of

USADF by the lawfully constituted USADF Board. And for the purposes of assessing

Brehm’s standing, this Court must assume that he will prevail on the merits of his

claims. See LaRoque v. Holder, 650 F.3d 777, 785 (D.C. Cir. 2011).

   Second, this Court plainly has the authority to award the relief that Brehm seeks.

Brehm does not “ask[] the Court to appoint him to the president position.” Defs.’ Mem.

at 11-12. Instead, he seeks an order confirming that neither Marocco nor the other

Defendants have validly removed him from his position as the President of USADF,

and that Marocco would not have the authority to do so (or to exercise any other power

on behalf of the agency). See Harris v. Bessent, No. CV 25-412 (RC), 2025 WL 679303,

at *11 n.13 (D.D.C. Mar. 4, 2025) (citing Kalbfus v. Siddons, 42 App. D.C. 310, 319-

21 (D.C. Cir. 1914)); see also Kalbfus, 42 App. D.C. at 321 (“In the present case the

removal of the relator having been illegal and void, the office never became vacant,

and the attempted appointment of his successor was a mere nullity.”). Accordingly,

the D.C. Circuit has repeatedly affirmed that the courts may redress claims by public

officers who challenge the validity of attempts to remove them from their positions.

See Severino v. Biden, 71 F.4th 1038, 1042-43 (D.C. Cir. 2023); Swan v. Clinton, 100

F.3d 973, 980 (D.C. Cir. 1996).




                                          9
     Case 1:25-cv-00660-RJL       Document 12      Filed 03/11/25   Page 12 of 18




    II. Preventing Brehm from carrying out USADF’s mission would be an
        irreparable harm.

    Brehm has “a statutory mission” and “statutory right to function” as the

President of USADF, and the “loss of the ability to do what Congress specifically

directed him to do cannot be remediated with anything other than equitable relief.”

Harris, 2025 WL 521027, at *8 (internal quotation omitted). Brehm was duly

appointed by the USADF Board to carry out the agency’s statutory mission and follow

statutory requirements—including consulting with Congress before repurposing

appropriated funds. Brehm faces irreparable injury from Defendants’ attempts to

interfere with his ability to perform the duty he was appointed to carry out. The

frustration of that duty qualifies as irreparable harm and could not be remedied by a

later award of backpay. See Berry v. Reagan, Civil Action No. 83-3182, 1983 WL 538

(D.D.C. Nov. 14, 1983) (finding “deprivation of [plaintiffs’] statutory right to function

as Commissioners” and “their unlawful removal from office by the President” to

constitute irreparable injury); Wilcox v. Trump, No. cv 25-334 (BAH), 2025 WL

720914, at *15 (D.D.C. Mar. 6, 2025) (same); Harris, 2025 WL 521027, at *9 (same).

    Defendants insist that any harm Brehm suffers from his unlawful removal at the

hands of Marocco “can be remediated in the ordinary course of the case.” Defs.’ Mem.

at 16 (citing English v. Trump, 279 F. Supp. 3d 307, 335 (D.D.C. 2018)). Not so. In

English v. Trump, this Court held there was no irreparable injury because the

plaintiff could later be reinstated. English, 279 F. Supp. 3d at 335. English

distinguished Berry v. Reagan, where plaintiffs would forever lose out on their ability

to fulfill their statutory duty because the commission to which they were appointed


                                           10
     Case 1:25-cv-00660-RJL        Document 12    Filed 03/11/25   Page 13 of 18




would be “shut down.” Id. In Berry, “any harm suffered by the commissioners was

plainly irreparable because the commission would have expired and they could not

have been reinstated to it.” Id.

    If Defendants have their way, the same will happen here. Defendants have made

clear that their mission is to unravel USADF and reduce it to a single D.C.-based

office, a skeleton staff, and perhaps one or two grants. Defendants’ actions at

USADF’s sister agency, the Inter-American Foundation (IAF), foretell USADF’s fate

in the absence of injunctive relief: when Marocco gained access at IAF, he cancelled

“all contracts and grants,” “placed all IAF staff on administrative leave with the

intention of implementing a reduction in force within 30 days,” and informed grantees

in poor communities across Latin America that they would be required to return

unused funds. Pls.’ Ex. B ¶ 18. Worse yet, it appears that Defendants also deleted

entire IAF databases, meaning that even if rebuilding were legally required, it would

be nearly impossible to restore grants. See Ex. H, Supp. Feleke Decl., ¶ 24.

    If Defendants could accomplish the same result with USADF, they would

undermine the purpose of the agency to foster partnerships and “strengthen the

bonds of friendship and understanding between the people of Africa and the United

States.” 22 U.S.C. § 290h-2. The idea that Brehm could simply return to USADF later

“fails to recognize that any later reinstatement of [Brehm] would not restore the state

of affairs that existed prior to [his] purported termination, given that [he] would no

longer serve as a member” of an agency dedicated to fulfilling its statutory mission.

Harris, 2025 WL 521027, at *8. Without immediate injunctive relief, any prospect



                                          11
      Case 1:25-cv-00660-RJL       Document 12      Filed 03/11/25    Page 14 of 18




that Brehm might later be reinstated is vitiated by the fact that USADF would be

effectively shuttered in the meantime with the most critical data likely erased. Brehm

would return to an agency in ashes.

    Defendants further complain that Brehm “conflates [his] fortunes with those of

the Foundation.” Defs.’ Mem. at 16. In the first place, Defendants ignore that Brehm’s

“inability to fulfill his ‘statutory mission’” is a harm to him, not the agency. Harris,

2025 WL 521027, at *8 (D.D.C. Feb. 18, 2025). But second, it is in fact appropriate for

Brehm to vindicate injuries to the agency and its mission, particularly where the

agency would be “shut down [] without it having fulfilled its mandate.” English, 279

F. Supp. at 335. “By vindicating his right to occupy that office, [Brehm] acts as much

in his own interests as those of his agency’s . . . . Striking at the independence of these

officials accrues harm to their offices, as well.” Wilcox, 2025 WL 720914, at *15 (citing

Harris 2025 WL 521027, at *7) (cleaned up).

    III. The public interest weighs in favor of enjoining unlawful
         government action.

    A. As Brehm explained in his opening brief, “there is a substantial public interest

in having governmental agencies abide by the federal laws . . . that govern their

existence and operations.” Open Cmty. All. v. Carson, 286 F. Supp. 3d 148, 179

(D.D.C. 2017) (internal quotation marks and citations omitted). That substantial

public interest is particularly acute here, in a case that involves Defendants’ attempts

to flout the process mandated by the Constitution and by statute for the Senate’s

participation in the selection of USADF’s leadership.




                                            12
     Case 1:25-cv-00660-RJL      Document 12     Filed 03/11/25   Page 15 of 18




   Even if Defendants had acted properly to remove all USADF Board members,

President Trump did not seek the advice and consent of the Senate required by law

to appoint new members. 22 U.S.C. § 290h-5(a)(1). As explained above (at 6-8), the

President has no authority under USADF’s organic statute or the FVRA to appoint

acting Board members. And any purported appointment of Marocco as President and

CEO violates Article II because Congress vested the authority to appoint inferior

officers in the USADF Board. U.S. Const. art. II, § 2; 22 U.S.C. § 290h-5(d). So

whatever the validity of any interest the public may have in “reducing the size of the

Federal Government,” Defs.’ Mem. at 18, Defendants may not pursue it by unlawful

and unconstitutional means.

   What’s more, Defendants seek to circumvent these legal procedures in an effort

to reduce USADF to a skeleton staff administering a grant or two, in complete

disregard of the mission that Congress assigned to the agency to “make grants, loans,

and loan guarantees to any African private or public group . . . engaged in peaceful

activities,” for the purpose of “the fostering of local development institutions.” 22

U.S.C. § 290h-3(a)(1); see Ex. I, Memorandum of USADF Board to Congress.

   Defendants argue that the new Administration has different goals in mind for

USADF and that Brehm’s leadership would frustrate those goals. That argument

ignores the role of Congress: Congress enacted the statute that instructs USADF to

perform its mission, Congress has continued to appropriate the funds that USADF is

instructed to disburse, and the Constitution requires that the Senate participate in




                                         13
     Case 1:25-cv-00660-RJL      Document 12     Filed 03/11/25   Page 16 of 18




the selection of USADF’s leadership. The public interest weighs strongly in favor of

respecting Congress’s role in the creation, structure, and funding of USADF.

   B. Defendants also object that Brehm seeks a mandatory injunction that would

“alter the status quo,” Defs.’ Mem. at 19, but this misdescribes the current state of

affairs. Brehm is not seeking to alter the status quo. Instead, he asks this Court to

confirm that at all relevant times he has been the lawfully appointed President of

USADF, and that at no relevant time has Marocco lawfully been able to exercise

authority on behalf of USADF. See Harris, 2025 WL 679303, at *11 n.13.

   Defendants’ argument rests entirely on the assumption that USADF was “board-

less,” Pls.’ Ex. B ¶ 14, and thus that President Trump could appoint Defendant

Marocco Chair of the Board so that Marocco could appoint himself President, see

Defs.’ Mem. at 3. But as explained above (at 3-6), both Defendants’ premise and

conclusion are false. USADF has a Board; Defendants never removed the incumbent

members of the Board from their seats. And even if USADF were “board-less,” that

could not justify Defendants’ disregard for the confirmation process required by the

Appointments Clause. See Noel Canning, 705 F.3d at 511. USADF’s actual Board

appointed Ward Brehm to be the President of the agency. Brehm simply seeks

recognition of the fact of that appointment. It is Defendants, not Brehm, who seek to

alter the status quo, and to do so quickly and recklessly—in other words, to move fast

and break things. This Court should not bless that effort.

   C. Finally, to vindicate the public interest, this Court should enter the revised

proposed order granting a TRO. As outlined in the Second Declaration of Elizabeth



                                         14
     Case 1:25-cv-00660-RJL      Document 12      Filed 03/11/25   Page 17 of 18




Feleke, submitted with this brief, on Thursday, March 6, representatives of

Defendants spent several unsupervised hours in the offices of USADF. Ex. H, Supp.

Feleke Decl., ¶¶ 15-22. Staff of USADF are continuing their efforts to determine

whether the agency’s computer systems have been compromised. After this Court

entered its administrative stay in this matter, counsel for Plaintiff asked counsel for

Defendants to confirm that Defendants, or any person acting in concert with

Defendants, could not exercise access or control over USADF’s computer systems. See

Ex. K. Counsel for Defendants did not provide that assurance. Id. In our view, this

Court’s administrative stay contemplates that Defendants would have no such access

or control. But since Defendants resist this conclusion, Plaintiff seeks to remove any

doubt and accordingly request that the Court enter the attached revised proposed

temporary restraining order.

                                   CONCLUSION

    For these reasons, the Court should grant the motion and enter a TRO pending

further consideration of the merits.


 March 11, 2025                             Respectfully submitted,

                                            _/s/Bradley Girard_________________
                                            Bradley Girard (DC Bar No. 1033743)
                                            Joel McElvain (DC Bar No. 448431)
                                            Orlando Economos*
                                            Robin F. Thurston (DC Bar No. 1531399)
                                            Skye Perryman (DC Bar No. 984573)
                                            Democracy Forward Foundation
                                            P.O. Box 34553
                                            Washington, DC 20043
                                            (202) 448-9090
                                            bgirard@democracyforward.org

                                          15
Case 1:25-cv-00660-RJL   Document 12   Filed 03/11/25    Page 18 of 18




                                 jmcelvain@democracyforward.org
                                 oeconomos@democracyforward.org
                                 rthurston@democracyforward.org
                                 sperryman@democracyforward.org

                                 *motion to appear pro hac vice
                                 forthcoming

                                 Counsel for Plaintiff




                                16
